     Case 2:11-cr-00054-TLN-CKD Document 147 Filed 11/25/13 Page 1 of 2


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    DOUGLAS J. BEEVERS, #288639
     Assistant Federal Defender
3    Designated Counsel for Service
     801 “I” Street, 3rd Floor
4    Sacramento, CA 95814
5    Attorney for Defendant
     CHRISTOPHER JACKSON
6
7
8                              IN THE UNITED STATES DISTRICT COURT
9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                    )   NO. 2:11-CR-00054 TLN
                                                  )
12                          Plaintiff,            )   STIPULATION AND ORDER
                                                  )   TO MODIFY CONDITIONS OF RELEASE
13          v.                                    )
                                                  )
14   CHRISTOPHER JACKSON,                         )   DATE:
                                                  )   TIME:
15                          Defendant.            )   JUDGE: Hon. Troy L. Nunley
                                                  )
16
17          CHRISTOPHER JACKSON, by and through his attorney, DOUGLAS BEEVERS,
18   Assistant Federal Defender; moves to modify the defendant's conditions of release BY ADDING
19   the following:
20           13.      You shall submit to drug or alcohol testing as approved by the pretrial services
                      officer;
21
            As grounds for this request, the parties report that these conditions were imposed in 2011
22
     but were removed from Defendant’s conditions after a period of successful compliance. The
23
     parties agree that the conditions should be re-imposed to ensure successful compliance with the
24
     pretrial conditions during the pendency of the case, and the U.S. Pretrial Services Office and the
25
     U.S. Attorney’s Office have no objection to the proposed modification.
26
27
28

     !Unexpected   End of Formula
      U.S. v. Jackson                                 -1-
      Stipulation and Order
     Case 2:11-cr-00054-TLN-CKD Document 147 Filed 11/25/13 Page 2 of 2


1    Dated: November 22, 2013                         Respectfully submitted,
2                                                     HEATHER E. WILLIAMS
                                                      Federal Defender
3
                                                      /s/ Douglas Beevers
4                                                     DOUGLAS BEEVERS
                                                      Assistant Federal Defender
5                                                     Attorney for Defendant
                                                      CHRISTOPHER JACKSON
6
7
     Dated: November 22, 2013                         BENJAMIN B. WAGNER
8                                                     United States Attorney
9                                                     /s/ Matthew Segal
                                                      MATTHEW SEGAL
10                                                    Assistant United States Attorney
                                                      Attorney for Plaintiff
11
12
                                            ORDER
13
14
              UPON GOOD CAUSE SHOWN and that there is no objection, it is ordered that as to
15
     defendant CHRISTOPHER JACKSON’s Special Conditions of Release, Special Condition 13 is
16
     added.
17
18
     IT IS SO ORDERED.
19
     Dated: November 22, 2013
20
21
22
23
24
25
26
27
28

     !Unexpected   End of Formula
      U.S. v. Jackson                           -2-
      Stipulation and Order
